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 8
 9                             UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12   Agricola Cuyuma SA; Corporacion            )   CASE NO. 2:17-cv-8220-DMG (SKx)
     Agricola Vinasol SAC;                      )
13                                              )   DEFENDANT CRITES SEED,
                                  Plaintiff,    )   INC.’S TRIAL BRIEF
14                                              )
           vs.                                  )
15                                              )
     Corona Seeds, Inc., et al.                     Trial Date: June 18, 2021
                                                )
16                                              )
                                  Defendants.       Judge: Hon. Dolly M. Gee
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 1          Defendant Crites Seed, Inc., respectfully submits the following summary of
 2   relevant fact and law in advance of the trial set in the referenced matter.
 3                                                  I.
 4                                        INTRODUCTION
 5          Plaintiffs Agricola Cuyuma SA (hereinafter “Cuyuma”) and Corporacion Agricola
 6   Vinasol SAC (hereinafter “Vinasol”) were disappointed in the financial outcome of their
 7   respective 2016 pea-growing campaigns in coastal Peru. They had over-treated and
 8   otherwise mishandled a variety of pea seed with which they had no prior experience,
 9   without test-planting said seed, and the crop that resulted was insufficient to satisfy their
10   promises to their respective customers. Seeking to cover the business losses which
11   resulted from this combination of factors, both plaintiffs chose to, essentially, blame the
12   seed, rather than take responsibility for poor business practices and acknowledge bad
13   luck. As a result, the plaintiffs, erstwhile competitors, filed suit against the manufacturer
14   of the seed, Crites Seed, Inc. (hereinafter “Crites”) and the distributor with whom they
15   entered into contracts to purchase the seed, Corona Seeds, Inc. (hereinafter “Corona”).
16   The causes of action alleged against Crites sound only in tort (negligence and strict
17   product liability); the causes of action alleged against Corona sound both in tort and in
18   contract.
19          The evidence introduced at trial will demonstrate conclusively that (1) the seed in
20   question was not a defective product, (2) the seed in question was not manufactured
21   negligently, (3) there is no factual basis for plaintiffs’ claim that the seed was somehow
22   “contaminated” or “infected” when it left Crites’ facility in Washington state, and (4) the
23   damages plaintiffs allege they sustained as the result of their 2016 pea-growing campaign
24   are illusory, at best. In addition, evidence introduced at trial will establish that no
25   “special relationship” existed between Crites, on the one hand, and plaintiffs, on the
26   other, which could operate to save plaintiffs’ tort claims from application of the economic
27   loss rule.
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 1                                                               II.
 2                                           FACTUAL BACKGROUND
 3            The sugar snap pea1 seeds at issue were grown and harvested at Crites’ direction on
 4   fields in Washington State. The fields in which they were grown were inspected by the
 5   Washington State Department of Agriculture in keeping with industry standards, and the
 6   plants from which the seeds were harvested were certified free of disease. Each lot of a
 7   particular variety of seeds is identified by the field, or lot, in which it was grown; in this
 8   case, the seeds which are alleged to be defective are identified as Lot 242606 (hereinafter
 9   “606 seeds”). The 606 seeds were then milled and stored at Crites’ facility in Quincy,
10   Washington, preparatory to being packaged as requested by Crites’ customers, nearly all
11   of whom (including Corona) are independent distributors of seed, not commercial
12   farmers like the plaintiffs. There is no evidence whatsoever in this case that any of
13   Crites’ business practices in the growing, harvesting, milling, storing, treating, and/or
14   packaging of seed fell below any applicable standard of care. Plaintiffs’ sole witness on
15   the issue of Crites’ allegedly negligent conduct, Dr. Michael Coffey, is expected to testify
16   that he did no investigation whatsoever into Crites’ business practices, and never visited
17   Crites’ facility. Crites’ employees are expected to testify that plaintiffs’ complaints
18   regarding the performance of the pea seeds at issue – a variety of sugar snap peas known
19   as Sapphire peas -- were the only complaints about which they were informed regarding
20   Sapphires. In short, there will be no direct evidence introduced at trial of either (1)
21   Crites’ negligent production practices or (2) defects in the pea seeds attributable to said
22   production.
23            Evidence introduced at trial will also establish the parameters of the relationships
24   between the parties, to the detriment of plaintiffs’ damage claims. Specifically, the only
25   contractual relationships at issue are those between plaintiffs, on the one hand, and
26
     1
27    Edible sugar snap peas are characterized by a “bumpy” appearance, as distinct from the flatter profile of a “snow pea.”
     Plaintiffs planted both sugar snap peas and snowpeas in their leased fields during their respective 2016 campaigns. The seeds
28   manufactured by Crites which are at issue in this case were solely sugar snap peas of a single proprietary variety: Sapphire.

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 1   Corona, on the other. Crites never entered into any contract with either plaintiff, and, in
 2   fact, did not know that the seed it agreed to sell to Corona was destined for plaintiffs’
 3   farms in Peru.2 The 606 seeds Crites sold to Corona in February, March, and April of
 4   2016, were not manufactured by Crites for any particular commercial farmer, let alone
 5   the plaintiffs in this case. They were not manufactured to any individual commercial
 6   farmer’s specification. Crites never spoke with any representative of either Cuyuma or
 7   Vinasol at any point before, during, or after the plaintiffs’ 2016 pea-growing campaign.
 8   Cuyuma’s and Vinasol’s communications regarding the alleged defects in the 606 seeds
 9   were, at all times, with Corona and its representatives. In short, there is/was no legally-
10   cognizable “relationship” between Crites and either plaintiff. As set forth in greater
11   detail below, this lack of any contractual or extra-contractual relationship between Crites
12   and the plaintiffs is crucially important to an analysis of the damages plaintiffs claim in
13   this case.
14            The first of the 606 seeds purchased by plaintiffs made their way to plaintiffs’
15   leased farmland in May (for Vinasol) and June (for Cuyuma).3 Between Quincy,
16   Washington, and the plaintiffs’ fields in Peru, the 606 seeds passed from (1) ocean/air
17   carriers to (2) quarantine at a port facility in Lima, Peru, to (3) trucks owned and/or
18   operated by plaintiffs, which drove the seeds to (4) the plaintiffs’ production facilities
19   where the bags were unloaded and stored, before being transported to (5) the fields leased
20   by plaintiffs for the purpose of planting the seeds for harvest, where they were (6)
21   subjected to the application of additional chemicals prior to planting. Crites did not
22   direct or control any of these phases. The evidence introduced at trial will demonstrate
23   that, while the 606 seeds were in quarantine in Lima, a period of two to three weeks, they
24
     2
       Crites knew that Corona had re-sold Crites-manufactured seed in Guatemala, but did not know that Corona intended to sell
25   its Sapphires in Peru. Guatemala is a Northern Hemisphere country; Peru is a Southern Hemisphere country. Evidence
     introduced at trial will establish the necessity of ensuring that seeds are planted in conditions (soil, water, weather, etc.)
26   which optimize their growth.
     3
27     Both plaintiffs planted snow peas in fields adjacent to the fields in which the sugar snap peas were planted, for purposes of
     their 2016 pea campaigns. Crites did not manufacture the snow pea seeds.
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 1   were tested for pathogens (disease-causing microorganisms) and received a clean bill of
 2   health.
 3            Once plaintiffs received the 606 seeds, they opted not to take the reasonable
 4   precaution of test-planting a sample of the seeds prior to larger-scale planting. Test-
 5   planting would have been a commercially-reasonable endeavor because: (1) Sapphire
 6   was a variety of pea unknown to both plaintiffs, and (2) Cuyuma, in particular, had never
 7   planted peas of any variety prior to the 2016 growing season.4 Peru’s winter planting
 8   season begins in June, and soil temperatures can make a very big difference in the
 9   performance of any individual variety of seed – evidence introduced at trial will establish
10   that the 606 seeds may have required warm soil to perform correctly. Both plaintiffs are
11   expected to testify at trial that they did not perform soil or water tests on the fields they
12   leased from local farmers for their 2016 pea-growing campaign – instead they relied on
13   their general sense that the fields had performed well in the past. The water used to
14   irrigate the fields leased by plaintiffs came from either wells on the property (Cuyuma) or
15   rivers (Vinasol), both of which are water sources prone to contamination. Both plaintiffs
16   are also expected to testify at trial that they subjected the 606 seeds to treatment with
17   fungicides shortly before planting them – notwithstanding the fact that the 606 seeds had
18   already received a broad-spectrum anti-fungal treatment at Crites’ facility in Quincy at
19   the request of Corona.5 Evidence introduced at trial is expected to establish that the
20   viability of seeds (which are living organisms) can be adversely effected by improper
21   treatment protocols such as those engaged in by the plaintiffs.6
22
     4
      Cuyuma came into being at the end of 2014, and had had just one growing campaign prior to the 2016 pea-growing
23   campaign. Specifically, Cuyuma had grown asparagus in 2015.

24   5
       Crites does not, as a general practice, treat its raw seeds except as requested by its customers. In this case, Corona requested
     treatment of the 606 seeds with a fungicide called “Thiram.” Thiram is a commonly-used fungicide in the United States,
25   which Crites has applied to Sapphires produced in various lots, and to seeds other than peas. There is no evidence that Crites
     misapplied Thiram to any of its seeds.
26   6
       Additional evidence will be introduced at trial regarding the many chemical treatments to which plaintiffs subjected their
27   pea plants during the 2016 campaigns. These treatments included herbicides applied to the soil in which the pea seeds were
     planted, insecticides sprayed onto the crops at various points during their growth prior to harvest, growth hormones applied to
28   the pea crops, and soil amendments added at or about the time of planting. Given that Sapphires were a brand-new pea

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 1            Shortly after planting the first bags of 606 seeds (Vinasol began planting in May,
 2   Cuyuma began planting in June), plaintiffs’ field managers noted that the 606 seeds were
 3   not sprouting as expected. Both plaintiffs notified Corona of the issue. In response,
 4   Corona (1) offered to send plaintiffs replacement seeds and (2) advised plaintiffs to plant
 5   the replacement seeds “heavy.” The latter recommendation essentially suggested that the
 6   plaintiffs should plant three seeds per hole, as opposed to one seed per hole. Corona’s
 7   representative also recommended that plaintiffs amend the soil in their fields to ensure an
 8   optimal environment for the pea seeds. Plaintiffs took Corona up on its offer of
 9   replacement seeds; the replacement seeds which Corona provided were a mix of Sapphire
10   seeds grown on different lots by Crites and non-Sapphire seeds from sources other than
11   Crites. Interestingly, while plaintiffs now claim that they knew that the 606 seeds were
12   “infected” or “contaminated” within a matter of days following planting of the first bags,
13   they did nothing to remove the allegedly contaminated 606 seeds from their fields prior to
14   planting the replacement seeds in the same locations, in the same soil.
15            The replacement seeds – which plaintiffs do not claim are defective – did not grow
16   as expected by plaintiffs, and their resultant pea harvests were smaller than they had
17   anticipated as a result. Specifically, plaintiffs claim that their harvests were too small to
18   satisfy the contracts plaintiffs had entered into with their respective customers at the
19   outset of the 2016 pea campaign – contracts in which Crites had no involvement and
20   about which Crites had no prior knowledge. This damage – all of which is purely
21   economic loss defined by plaintiffs’ expectations in the context of their contractual
22   relationships – is at the heart of the claims asserted by both plaintiffs. The plaintiffs did
23   not receive the benefit of the bargains they struck; Crites was not a party to, and had no
24   control over, any of those bargains.
25            As Crites understands it, plaintiffs also intend to argue that the 606 seeds somehow
26   spread their “contamination” to adjacent plants, with a deleterious effect on harvests from
27
     variety, never before grown in Peru, the introduction of these chemicals is expected to form the basis for defendants’
28   argument that plaintiffs simply mistreated their pea crops to their own detriment.

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 1   those plants. This argument is expected to be unsupported by any factual trial evidence.
 2   Specifically, evidence introduced at trial will establish that the pathogen upon which
 3   plaintiffs base their entire “contamination” claim – an unknown species of a fungus-like
 4   microorganism called “Pythium” – is found in nearly all soils around the world, including
 5   the soils of Peru. Pythium species are also commonly found in water sources. There will
 6   be no evidence presented at trial establishing which of the hundreds of Pythium species
 7   was allegedly dragooned in Washington by the 606 seeds and allegedly transported over
 8   several months and 4,000 miles to plaintiffs’ leased fields in Peru. There will be no
 9   evidence presented at trial establishing that Pythium (usually found in either water or
10   soil) is even capable of being carried by seed. There will be no evidence presented at trial
11   that the plants which did sprout from either the 606 seeds or the replacement seeds
12   planted by plaintiffs exhibited the characteristics of Pythium damage. In fact, Dr. Coffey,
13   plaintiffs’ expert liability witness, is expected to testify at trial (as he did during his
14   deposition) that his review of photographs of the plant matter which emerged from the
15   plaintiffs’ pea fields did not reveal the “classic” signs of Pythium-related damping off.
16          Crites expects plaintiffs to submit two additional arguments in support of their
17   causes of action for negligence and strict product liability: (1) that the 606 seeds were
18   simply too old to sell, and (2) that the 606 seeds exhibited a lower germination rate than
19   the rate reflected on the labeled bags. Neither argument is expected to withstand
20   scrutiny at trial. First, trial testimony will establish that there is no such thing as an
21   accepted “shelf life” associated with any individual type of commercially-grown seed, let
22   alone a shelf life associated with pea seeds. At deposition, plaintiffs’ liability expert
23   could not identify any minimally-qualified evidence as a basis for his “expert” opinion in
24   this regard, and we anticipate no such evidence will be introduced at trial. To the
25   contrary: Crites will introduce evidence that seed is like any other living organism in that
26   it is generally impossible to predict how long it will live. Crites employees are also
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 1   expected to testify that the parent seed of 606 seeds (Lot S042500), which was originally
 2   grown in 2010, is currently being used to increase inventory stock without problems.
 3         The issue of germination rates is nothing more than a red herring. First, there is no
 4   evidence whatsoever that plaintiffs demanded pea seeds reflecting a specific germination
 5   rate. Second, evidence introduced at trial will establish that the germination rates
 6   reflected in labels on bags of seed sold by Crites are not predictive; they are snapshots of
 7   a given seed sample’s viability at a specific point in time. Germination rates are obtained
 8   by taking samples of raw seed, exposing them to moisture (by wrapping raw seed in wet
 9   toweling), and leaving them in an incubator for a set amount of time. At the end of that
10   time, the seeds are removed and examined for signs that roots/shoots have begun to
11   emerge from the seed. Crites’ practice (consistent with federal law) was to test its stock
12   of seeds every five months; the relevant germination test in this case (of inventory stock
13   606 seeds) took place in November 2015, at which point the sample tested reflected a
14   germination rate of 87%. This is the data point which normally would be entered into the
15   labels of any bags of 606 seed sold by Crites between November 2015 and April 2016.
16   That is precisely what happened in this case, as the evidence introduced at trial will
17   establish. There will be no evidence admitted at trial which calls into question the testing
18   protocol used to obtain the November 2015 germination rate (the test was conducted by
19   an independent facility). There will be no evidence admitted at trial which will permit the
20   inference that any single germination rate is a guarantee of future germination. There
21   will be a significant amount of evidence admitted at trial establishing the many ways a
22   given seed can be mishandled (by application of too many/the wrong kind of chemicals,
23   by introduction of the seed to a sub-optimal soil/water environment, by mechanical
24   processes, etc.) which would result in crop volume which does not conform with a prior
25   germination rate obtained from a sample.
26         Finally, the rate at which the 606 seeds, or any seeds for that matter, grew into a
27   crop of plants suitable for harvest is irrelevant to the damages legally recoverable from
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 1   Crites, against which only claims sounding in tort are alleged. Crop volume is one of the
 2   benefits of the bargain plaintiffs struck with Corona. It is an element of contract damages
 3   which, as set forth below, is foreclosed to plaintiffs in their case against Crites.
 4                                                 III.
 5                                          LEGAL ISSUE
 6   A.    The Economic Loss Rule
 7         Plaintiffs, aware that their relationship with Crites is both distant and non-
 8   contractual, alleged only tort claims against Crites: negligence and strict products
 9   liability. But, under the law of most United States jurisdictions including California,
10   plaintiffs cannot recover for the economic damages occasioned by the failure of a product
11   to perform as anticipated via product liability claims sounding purely in tort. The Ninth
12   Circuit, in Giles v. GMAC (2007) 494 F.3d 865, 874, following a detailed discussion of
13   the history behind this concept, stated the rule succinctly as follows:
14
15         The economic loss doctrine in product liability cases can be easily stated. If a
           plaintiff is in a contractual relationship with the manufacturer of a product, the
16         plaintiff can sue in contract for the normal panoply of contract damages, including
17         foreseeable lost profits and other economic losses. Whether or not the plaintiff is
           in a contractual relationship with the manufacturer, the plaintiff can sue the
18         manufacturer in tort only for damages resulting from physical injury to persons or
19         to the property other than the product itself.

20
21         The California Supreme Court also summarized the history and rationale behind
22   this rule – known as the economic loss rule – in Robinson Helicopter Co., Inc. v. Dana
23   Corp. (2004) 34 Cal.4th 979, 988 - 989. Per Robinson, economic loss consists of
24   “damages for inadequate value, costs of repair and replacement of the defective product
25   or consequent loss of profits – without any claim of personal injury or damages to other
26   property.” Id. at p. 988, citing Jimenez v. Superior Court (2002) 29 Cal.4th 473, 482.
27   The economic loss rule provides: “[W]here a purchaser’s expectations in a sale are
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 1   frustrated because the product he bought is not working properly, his remedy is said to be
 2   in contract alone, for he has suffered only ‘economic losses.’” Id. at p. 988, citing
 3   Neibarger v. Universal Cooperatives, Inc. (1992) 439 Mich. 512 [486 N.W.2d 612, 615].
 4   The doctrine “hinges on a distinction drawn between transactions involving the sale of
 5   goods for commercial purposes where economic expectations are protected by
 6   commercial and contract law, and those involving the sale of defective products to
 7   individual consumers who are injured in a manner which has traditionally been remedied
 8   by resort to the law of torts.” Ibid.
 9            The United States District Court for the Southern District of California applied
10   these principles outlined in Robinson and Jimenez in a case involving facts similar to
11   those at issue herein. In Agricola Baja Best v. Harris Moran Seed Co. (2014) 44
12   F.Supp.3d 974, 979, a tomato grower purchased seeds manufactured by defendant Harris
13   Moran through a distributor located in Mexico. A representative of the distributor
14   recommended a specific type of tomato seed based on its alleged resistance to a particular
15   disease. Id. After the seed was planted, having first been subjected to a treatment not
16   previously-approved by Harris Moran, the seed showed signs of the disease in question.
17   Id. at pp. 980 – 981. Plaintiff sued Harris Moran on both contract and tort theories of
18   liability, and Harris Moran moved for summary judgment.7
19            The District Court granted Harris Moran’s motion on plaintiff’s products liability
20   claims, relying primarily on the economic loss rule. Id. at pp. 987 – 988. The Court
21   stated: “Under the economic loss rule, ‘a purchaser must recover in contract for purely
22   economic loss due to disappointed expectations.’ [Citation omitted.] ‘Economic loss
23   consists of damages for inadequate value, costs of repair, and replacement of the
24   defective product or consequent loss of profits – without any claim of . . . damage[] to
25   other property.’ [Citation omitted.] Tort recovery is available if the defective product
26   77
       In response to Harris Moran’s motion on the contract claims, plaintiff argued that (1) Harris Moran was the true seller of
27   the tomato seeds at issue, and (2) the distributor in question was Harris Moran’s agent. Id. at p. 982 – 983. The court
     dismissed the former argument out of hand, noting the distinct corporate existence of both businesses (see, p. 982, fn. 3), and
28   determined that an issue of fact existed with respect to plaintiff’s agency argument (see, p. 983).

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 1   damages ‘property other than the defective product itself.’ [Citation omitted.]” Id. at p.
 2   987.
 3          The same outcome should obtain with respect to plaintiffs’ claims against Crites.
 4   That no contract existed between Crites and either of the plaintiffs is indisputable.
 5   Evidence introduced at trial will establish that Crites had no idea to whom Corona
 6   intended to sell its 606 seeds – and, in fact, had no idea the 606 seeds would be planted in
 7   Peru. Without a contract, plaintiffs cannot recover damages for their economic losses
 8   against Crites – those losses are contract damages, and plaintiffs’ remedies are, if
 9   available at all, only available as against the party with whom they negotiated their
10   contracts, Corona. To the extent plaintiffs can prove at trial that, somehow, the 606 seeds
11   “infected” adjacent fields in which they were not planted, they are limited in their
12   recovery to those damages traceable to said “infection.” Crites is confident that no such
13   proof exists.
14          Plaintiffs’ cases, cited in their Trial Brief, do not assist them. In support of their
15   argument that the economic loss rule only applies when there is a contract between the
16   parties, plaintiffs cite to three apparently unreported, non-binding rulings on motions
17   (UMG Recordings, Gauba v. Florence Hosp., Ltd. Liab. Co., 2013 U.S. Dist. LEXIS
18   86215 at *8, and Wells v. Chase Home Fin. LLC, 2010 U.S. Dist. LEXIS 127854 at *17),
19   only one of which could be located in a Westlaw search. The ruling which could be
20   located (UMG Recordings, Inc. v. Glob. Eagle Entm’t, Inc., 2015 WL 12746208), is one
21   of a string of eleven in which the United States District Court for the Central District of
22   California considered and re-considered the sufficiency of the parties’ pleadings in a non-
23   product liability matter in the face of repeated motions to dismiss and repeated responsive
24   amendments to the operative pleadings; it is neither binding nor factually compelling
25   precedent. The sole remaining reported case cited by plaintiffs on the applicability of the
26   economic loss rule is similarly unhelpful. Affiliated FM Ins. Co. v. LTK Consulting
27   Servs. (9th Cir. 2009) 556 F.3d 920, is another non-product liability case, in which the
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     DEFENDANT CRITES SEED, INC’S TRIAL BRIEF                      CASE NO. 2:17-cv-8220-DMG (SKx)
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 1   court declined to rule on the issue of the applicability of the economic loss rule, and
 2   instead certified an underlying question of law (though not the issue of whether or not the
 3   economic loss rule would ultimately apply) to the Washington State Supreme Court. Id.
 4   at pp. 922 – 923. Plaintiffs also cite to a California Supreme Court case in which the
 5   economic loss rule was applied to prevent plaintiffs from recovering for purely economic
 6   injury (lost income) via tort claims: Southern California Gas Leak Cases (2019) 7 Cal.5th
 7   391, 394 – 395. In short, there is no legal support for plaintiffs’ contention that Crites
 8   cannot assert the economic loss rule because it had no contractual relationship with either
 9   plaintiff.
10          Plaintiffs also attempt to argue that there exists between themselves and Crites a
11   “special relationship” which provides them with an exception to the economic loss rule,
12   should the rule apply. They state: “Plaintiffs were the intended beneficiaries of Crites
13   contract with Corona . . . [because] the Seeds were intended to be sold to commercial
14   growers of sugar snap peas, such as Plaintiffs.” (Trial Brief, p. 2, lines 21 – 26.)
15   Plaintiffs cite to no case law whatsoever in support of their proposition that, essentially,
16   each and every manufacturer of a product has a “special relationship” with each and
17   every ultimate user of that product, regardless of whether or not the ultimate users of the
18   product are known to the manufacturers at or before the point of sale. In J’Aire Corp. v.
19   Gregory (1979) 24 Cal.3d 799, 802 – 803, cited by plaintiffs in support of their
20   preposterously expansive concept of “special relationships,” the parties were, in fact,
21   aware of each other’s existence during, and had communicated about, the activity which
22   was alleged to underlie the plaintiff’s damage was on-going. There will be no
23   comparable evidence offered at trial regarding Crites’ pre-existing knowledge of, or
24   communication with, plaintiffs.
25          In Southern California Gas Leak Cases (2019) 7 Cal.5th 391, also cited by
26   plaintiffs in support of their “special relationship” argument, the Supreme Court of
27   California applied the economic loss rule to deny claims for purely economic losses
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     DEFENDANT CRITES SEED, INC’S TRIAL BRIEF                     CASE NO. 2:17-cv-8220-DMG (SKx)
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 1   suffered by businesses who sued Southern California Gas Company solely in tort. Id. at
 2   pp. 394 – 395. The case is factually inapposite, given that it does not consider at all the
 3   question of whether the manufacturer of a product can be found to have a “special
 4   relationship” with an ultimate user of the product, for purposes of imposing a duty of care
 5   on the manufacturer to protect that ultimate user from economic loss. Instead, the court
 6   found that the gas company in question did not owe a duty of care to parties impacted by
 7   its gas leak, but with which it had not contracted, to protect them from economic losses
 8   resulting from its conduct. Ibid. In response to plaintiffs’ argument that a “special
 9   relationship” exception should apply, the Supreme Court embarked on a detailed
10   examination of the circumstances under which such a relationship could arise, noting that
11   it would typically arise when “the plaintiff was an intended beneficiary of a particular
12   transaction.” Id. at p. 400, emphasis added. The Supreme Court took great pains to
13   foreclose the kind of wholesale “every relationship is special” reasoning plaintiffs
14   attempt herein, noting that “[d]eciding whether to impose a duty of care turns on a careful
15   consideration of the ‘sum total’ of the policy considerations at play.” Id. at p. 401. The
16   Supreme Court also rejected foreseeability as sufficient in and of itself to establish a
17   “special relationship:” “In requiring more than mere foreseeability for imposing a duty
18   of care . . . we appreciate[] the need to safeguard the efficacy of tort law by setting
19   meaningful limits on liability.” Ibid. Finally, the Supreme Court stated:
20
21         [A]lthough exposure to liability often provides an important incentive for parties to
           internalize the social costs of their actions, we were concerned that allowing
22         countless people . . . to recover ‘pure economic loss suffered . . . would ‘raise[] the
23         spectre of vast numbers of suits and limitless financial exposure. [Citation
           omitted.] The resulting universe of potential claims would not only raise difficult
24         line-drawing questions for courts, it might deter socially beneficial behavior.
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26   Id. at pp. 401 – 402.
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 1         In short, plaintiffs have cited the Court to no binding case law which supports their
 2   stated position on the inapplicability of the economic loss rule to Crites. They will be
 3   unable to offer evidence at trial establishing the existence of a “special relationship”
 4   between themselves and Crites. The economic loss rule thus limits their recovery against
 5   Crites to those damages they can prove flowed solely from the alleged “infection” of
 6   adjacent fields by the 606 seeds. Crites is confident no such proof exists.
 7   B.    Plaintiffs’ Comparative Fault
 8         Crites is entitled to present evidence and argument establishing the role played by
 9   plaintiffs’ own negligent conduct in the damages they claim to have sustained as the
10   result of their failed 2016 agricultural campaigns. Daly v. General Motors Corporation
11   (1978) 20 Cal.3d 725, 737. In this regard, we anticipate the introduction of evidence at
12   trial which will establish that plaintiffs (1) failed to ensure that the soil and water which
13   would provide the growth medium for the peas they intended to grow in 2016 were
14   appropriate for pea seeds, (2) failed to ensure that the Sapphire variety of seeds could be
15   grown successfully in Southern Hemisphere soils during the winter, (3) failed to perform
16   a test-planting of the Sapphire seeds prior to wider-scale sowing, (4) repeated the
17   foregoing failures when they opted to plant replacement seeds in the same soils alongside
18   the 606 seeds, (5) over-treated the 606 seeds with unnecessary and potentially deleterious
19   chemicals, including fungicides, herbicides, and insecticides, and (6) failed to treat the
20   resultant plants (both from 606 seeds and replacement seeds) with the level of care
21   expected of reasonable commercial growers during harvest and shipping of the product.
22   To the extent a jury finds this evidence compelling, plaintiffs’ comparative fault must
23   apply to reduce their recovery.
24                                                IV.
25                                         CONCLUSION
26         Crites looks forward to addressing the issues outlined above during trial of the
27   captioned matter.
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 1   Dated: June 11, 2021
                                      GORDON REES SCULLY MANSUKHANI, LLP
 2
 3
 4                                    By: /s/ Lisa G. Taylor

 5                                         Jason F. Meyer
                                           J. Todd Konold
 6                                         Lisa G. Taylor
 7                                         Attorneys for Defendant,

 8                                         CRITES SEED, INC.

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 1                                 CERTIFICATE OF SERVICE
 2
           I am a resident of the State of California, over the age of eighteen years, and not a
 3
     party to the within action. My business address is: Gordon Rees Scully Mansukhani,
 4
     LLP, 101 W. Broadway, Suite 2000, San Diego, CA 92101, my electronic mail address
 5
     is crogers@grsm.com. On June 11, 2021, I served the foregoing document(s) as follows:
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                     DEFENDANT CRITES SEED, INC’S TRIAL BRIEF
 7
 8    BY ELECTRONIC SERVICE THROUGH THE CM/ECF SYSTEM which
        automatically generates a Notice of Electronic Filing at the time said document is
 9      filed to all CM/ECF Users who have appeared in this case. Service with this NEF
        constitutes service pursuant to FRCP 5(b)(E).
10
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     CERTIFICATE OF SERVICE                                      CASE NO. 2:17-cv-8220-DMG (SKx)
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 1         I declare under penalty of perjury under the laws of the United States of America
 2   that I am employed in the office of a member of the Bar of this Court at whose direction
 3   the service was made.
 4         Executed on June 11, 2021 at San Diego, California.
 5
                                                       /s/ Coral M. Rogers
 6                                               Coral M. Rogers
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     CERTIFICATE OF SERVICE                                    CASE NO. 2:17-cv-8220-DMG (SKx)
